    Case 4:17-cr-00263-LGW-CLR Document 100 Filed 05/08/18 Page 1 of 1
                                                               FILED
                                                        U.S. DISTRICT COURi
                                                           SAVANNAH DIV.
                 IN THE UNITED STATES DISTRICT COURJjjjg        ^
                 FOR THE SOUTHERN DISTRICT OF GEORGIA


                           SAVANNAH DIVISION
                                                      niFRK
                                                           SO
                                                           ^' .013^
                                                                1^^




THE UNITED STATES OF AMERICA,


               Plaintiff,

                 V.                          4:17CR263-02


DENNIS GRUBBS,


               Defendant.




                               ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in     the parties'    motions have    been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this     7A
                          /' day of May, 2018.




                                 UNITED STATES MAGISTRATE JUDGE
                                SOUTHERN DISTRICT OF GEORGIA
